Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 1 of 34 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA

Jane Doe,                                       §
                                                §
      Plaintiff                                 §
                                                §             CIVIL CAUSE NO. ____________
v.                                              §
                                                §                            JURY DEMANDED
The University of Evansville,                   §
                                                §
      Defendant                                 §

                      PLAINTIFFS’ ORIGINAL COMPLAINT & JURY DEMAND

       Plaintiff Jane Doe (“Plaintiff”) files this Original Complaint and Jury Demand complaining

of Defendant the University of Evansville (the “University”). In support thereof, Plaintiff would

show the Court as follows:

                                                I.
                                             PARTIES

       1.      Plaintiff Jane Doe is an individual who, at the time of the sexual assault complained

of herein, was a student attending the University of Evansville.

       2.      Defendant the University of Evansville is a private educational institution with its

campus located in Evansville, Vanderburgh County, Indiana. The University of Evansville may be

served with process through its registered agent.

                                            II.
                                 JURISDICTION AND VENUE

       3.      The Court has subject matter jurisdiction over this case pursuant to

28 U.S.C. § 1331, which gives district courts original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States.




                                                    1
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 2 of 34 PageID #: 2




        4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), since Defendant

resides or resided in this district and the events or omissions giving rise to the claim occurred in

this district.

        5.       This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1343, which

gives district courts original jurisdiction over (a) any civil action authorized by law to be brought

by any person to redress the deprivation, under color of any State Law, statute, ordinance,

regulation, custom or usage, of any right, privilege or immunity secured by the Constitution of the

United States or by any Act of Congress providing for equal rights of citizens or of all persons

within the jurisdiction of the United States; and (b) any civil action to recover damages or to secure

equitable relief under any Act of Congress providing for the protection of the civil rights.

        6.       Plaintiff brings this action to redress a hostile educational environment pursuant to

Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a), as more fully set forth herein.

This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the Fourth Amendment to the

United States Constitution, made applicable to Defendants through the Fourteenth Amendment to

the United States Constitution.

        7.       The University of Evansville is an educational institution that, at all relevant times,

received federal funding for its academic programs and activities and was subject to the

requirements of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a).

        8.       Plaintiff further invokes the supplemental jurisdiction of this Court, pursuant to

28 U.S.C. § 1367(a), to hear and decide claims arising under state law including breach of contract

and negligence.




                                                   2
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 3 of 34 PageID #: 3




                                  III.
       TITLE IX AND INDIANA LAW PROTECT STUDENTS LIKE JANE DOE

       9.      Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 168l(a),

states that “[n]o person in the United States shall, on the basis of sex, be excluded from

participation in, be denied the benefit of, or be subjected to discrimination under any education

program or activity receiving Federal financial assistance.”

       10.     Implemented through the Code of Federal Regulations (See 34 C.F.R. § 106.1),

Title IX provides: “A recipient must adopt and publish grievance procedures that provide for the

prompt and equitable resolution of student and employee complaints alleging any action that would

be prohibited by this part.” 34 C.F.R. § 106.8(b).

       11.     In Gebser v. Lago Vista Independent School District, 524 U.S. 274 (1988), the

United States Supreme Court recognized that a recipient of federal educational funds intentionally

violates Title IX, and is subject to a private damages action, where the recipient is “deliberately

indifferent” to known acts of discrimination.

       12.     In Davis v. Monroe County Board. of Education, 526 U.S. 629 (1999), the United

States Supreme Court extended the private damages action recognized in Gebser to cases where

the harasser is a student, rather than a teacher. Davis held that a complainant may prevail in a

private Title IX damages action against a school district in cases of student-on-student harassment

where the funding recipient is: (a) “deliberately indifferent to sexual harassment of which the

recipient has actual knowledge” and (b) “the harassment is so severe, pervasive, and objectively

offensive that it can be said to deprive the victims of access to the educational opportunities or

benefits provided by the school.” Davis, 526 U.S. at 1669–76.

       13.     Title IX jurisprudence as well as Department of Education regulations have long

recognized that a single event of sexual assault constitutes harassment so severe, pervasive, and




                                                 3
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 4 of 34 PageID #: 4




objectively offensive that it deprives its victims of access to the educational opportunities provided

by the school. That is because “[t]he more severe the conduct, the less need there is to show a

repetitive series of incidents to prove a hostile environment, particularly if the harassment is

physical. Indeed, a single or isolated incident of sexual harassment may create a hostile

environment if the incident is sufficiently severe. For instance, a single instance of rape is

sufficiently severe to create a hostile environment.” U.S. DEPT. OF EDUC. OFFICE OF CIVIL RIGHTS,

“Dear Colleague” Letter (April 4, 2011).

       14.     Indiana law also provides protections for students and requires the University to

exercise reasonable care toward students. LaPorte Cmty. Sch. Corp. v. Rosales, 963 N.E.2d 520

(Ind. 2012). The Indiana Supreme Court has also held that “the common law duty of care that a

school owes its students is not dependent upon whether an injury a student suffers occurs on school

property.” Doe v. Lafayette Sch. Corp., 846 N.E.2d 691, 699 (Ind. Ct. App. 2006) (citing Mangold

ex rel. Mangold v. Indiana Dept. of Natural Resources, 756 N.E.2d 970, 973 (Ind. 2001)).

       15.     Ultimately, as illustrated below, the circumstances giving rise to the claims of this

Plaintiff, and others, demonstrate a history of student harassment and assault resulting from

deliberate indifference that the Defendant University has allowed to continue for years.

                                             III.
                                        BACKGROUND FACTS


A.     Jane Doe attended the University, which hired McCarty to coach Men’s Basketball.

       16.     Plaintiff Jane Doe was a student at the University studying Athletic Training from

August 2016 until May 2020. Because her Athletic Training major required clinical learning, in

her Junior year, Jane Doe applied to and was selected as a Student Athletic Trainer for the Men’s




                                                  4
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 5 of 34 PageID #: 5




Basketball Team. As an Athletic Training Student, Doe was earning course credits and gaining

hands-on experience to become an athletic trainer.

        17.     In March 2018, the University hired former NBA player Walter McCarty

(“McCarty”) to be the Head Coach for the Men’s Basketball program. McCarty, a married father

of two, played college basketball at the University Kentucky before spending ten years playing

professionally for the Boston Celtics. Afterward, he went on work as an assistance coach for three

years at the University of Louisville before spending seven years as an assistant coach for the

Boston Celtics and Indiana Pacers. As the “face of the program,” McCarty’s role as head coach

included fundraising, recruiting, and community involvement. His respect in the community and

at the University was bolstered by the fact that McCarty himself was raised in Evansville and,

when interviewed, fondly recalled that he “used to pass the [U]niversity every day” in his youth.1

        18.     Within just three months of hiring McCarty, the University learned that McCarty’s

behavior towards women was sexually inappropriate—behavior that the University knew escalated

continually throughout his employment. Between June 2018 and November 2019, the University

received at least seven reports or complaints that McCarty had acted sexually inappropriately with

women who were students and employees of the University and women in the Evansville

community.

        19.     But Jane Doe was unaware of these allegations before she began working for the

team McCarty coached. Until then, she viewed McCarty’s arrival as a welcomed change to the

Men’s Basketball program. News outlets reported that “[w]hen McCarty was hired in March 2018,

Evansville immediately felt his presence.” Id. Attendance at games had significantly increased,

and McCarty was known and liked in the community. In fact, “the cachet of his NBA experience


1
 Harry Lyles Jr., Walter McCarty has put Evansville back on the map, SBNATION.COM (Nov 18, 2019, 11:30a.m.),
https://www.sbnation.com/2019/11/18/20964325/walter-mccarty-evansville-basketball-coach-kentucky-upset?via.



                                                      5
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 6 of 34 PageID #: 6




helped on the recruiting trail” going into his second year coaching.2 Then on November 12, 2019—

just weeks before Doe was assaulted—McCarty led the team to a historic upset over the first-

ranked team in the nation, his alma mater the University of Kentucky, despite that Evansville was

the 25-point underdog: “The Evansville Aces, under former Kentucky national champion Walter

McCarty, have gone into Lexington and beat the Wildcats on their home court.”3 The win and

increasing national success led many to declare that McCarty “put Evansville back on the map.”

Id.

B.      Soon after meeting Doe, McCarty begins acting sexually inappropriate with Doe,
        culminating in harassing her and sexually assaulting Doe

        20.     After meeting McCarty in March 2019, Jane Doe began working under McCarty in

April 2019. Jane Doe had worked with other teams, like the baseball team, and would not have

direct communication with the coach. In comparison, however, McCarty was with more engaging

with students involved in the Men’s Basketball Program. When coaching the team, Doe said,

McCarty initially had nice manners and was respectful. She described how, before or during

practice, McCarty would walk over to the athletic training students, do a special handshake and

engage in small talk. Over time, this made Doe comfortable with him.

        21.     Soon after they met, McCarty initiated communications with Jane Doe on April 18,

2019. Over the following months, McCarty sent Doe numerous messages via Instagram, Snapchat,

and telephone text in which he made comments that were inappropriate and sexually harassing,

including asking her to get drinks with him. Doe says she was naïve in how she viewed his

communications leading up to the assault, thinking “oh that’s really cool to be able to talk to coach,


2
  Des Bieler, No. 1 Kentucky stunned by Evansville and its coach, ex-Wildcat Walter McCarty,
WASHINGTONPOST.COM (Nov. 12, 2019, 11:52 a.m.), available at
https://www.washingtonpost.com/sports/2019/11/13/no-kentucky-stunned-by-evansville-its-coach-ex-wildcat-
walter-mccarty/.
3
  See Lyles, supra, note 1.



                                                      6
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 7 of 34 PageID #: 7




or to talk to someone who has such an impact. . . . fans want to talk [to] him.” Doe felt compelled

to respond to McCarty’s messages because he was known and liked in the community and in an

authority position over her as the Head Coach. In those communications, Doe always addressed

McCarty as “Coach,” consistent with his superior relationship over her, both as a prominent staff

member at the University where Doe was a student and as Head Coach of the team where she was

a Student Athletic Trainer.

       22.     McCarty also made comments about Jane Doe’s body in conversations with her, as

well as in public conversations at practices and games, remarking to Doe’s colleagues, superiors,

basketball team members, and fellow students that Doe had “pretty feet.”

       23.     These communications were a preamble to what culminated in McCarty sexually

assaulting Jane Doe on December 9, 2019. That day, while Jane Doe was taking and studying for

final exams, McCarty messaged her throughout the day via Snapchat, persistently asking her to

meet up with him:

       McCarty:       “I’m gonna kidnap you one of these times lol have u come hang with me”
       ...
                      “You should have come hang out with me.”

       Jane Doe:      “Tonight?”

       McCarty:       “Yes”

       Jane Doe:      “Well ya shoulda told me earlier! I told some friends I’d hang out”

       McCarty:       “So come after u hang out with your friends”

       Jane Doe:      “Wat we gonna do”

       McCarty:       “What you wanna do”
       ...
                      “You coming out lol”
       ...




                                                7
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 8 of 34 PageID #: 8




       Jane Doe:     “Id love to hang out coach, but don’t rly want ppl getting the wrong
                     impression me showing up there at 12 am.”

       McCarty:       “Who is gonna know your showing up here?”

       Jane Doe:     “Well my roomie prob gonna call me when she gets back and I’m not there
                     lol”

       McCarty:      “Tell her your at the library or something lol

                     No it’s not I wouldn’t do that as much as I like looking at your booty lol

                     Come”

       Jane Doe:      “Ur persistent ya know lol”
       ...

       McCarty:       “I am persistent but you like that. . . .”

       Jane Doe:      “. . . I just am not so sure about this so late”

       McCarty:       “Just come”

Feeling pressured, while out picking up fast food, Jane Doe agreed to eat her food at McCarty’s

house for five minutes:

       Jane Doe:      “U still want me to come?
                      I can’t stay but 5 min”

       McCarty:       “Yes
                      That’s fine”

       Jane Doe:      “Bc friend is already on way back to our duplex”

       McCarty:       “Just come”

Around midnight, she texted her roommate to ask for help in advance: “Hey if I txt u, call now,

please do it. I’ll explain later.” After picking up food, Doe reluctantly drove to McCarty’s house.

Expecting that McCarty had roommates or other people would be at the house, Doe found it strange

that McCarty was alone when she arrived and reiterated that she was just going to eat and leave.

After Doe texted her roommate that she was about to call, the roommate called Doe around 12:30




                                                  8
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 9 of 34 PageID #: 9




a.m. and Doe took that as an opportunity to tell McCarty it was time for her to leave. But McCarty

cajoled her to stay to watch a show for a bit.

       24.     Suddenly, McCarty reached over and grabbed her thigh; Jane Doe froze. As

McCarty’s unwelcome advances turned physical, Jane Doe (who is only 5’1” tall) thought “I don’t

want to run. He’s 6’9 and I’m not going to . . . I don’t want to be raped right now.” What followed

was a blur to Jane Doe. But it is undisputed that McCarty touched Jane Doe’s breasts and buttocks,

and digitally penetrated her. The formal investigation by the University into the incident concluded

that “it is more likely than not” that the sexual contact and sexual intercourse happened as Doe

says it did. Further, the acts McCarty perpetrated were “all without [Jane Doe]’s consent.”

       25.     After Doe returned to her residence five or six minutes later, her roommate saw

Doe remaining silent and asked, “What’s wrong?” Jane Doe immediately told her roommate that

McCarty had taken advantage of her and touched her very inappropriately. After opening up to her

roommate, “most of it was tears. Not words.” The next day, Doe also told two other close friends

about the assault so that they could stay with her once her roommate left town that day.

       26.     From December 10 through 12, 2019, McCarty continued sending Jane Doe

unwelcome sexual advances. In response, Jane Doe attempted to confront McCarty about what

happened:

       Jane Doe:       “U lied to
                       Me
                       Don’t ever expect a visit from me again”

       McCarty:        “Are u serious, it really wasn’t a booty call
                       Sorry you feel that way” [Confused or Slightly Frowning Face emoji]
       ...

                       “I’ve been thinking about my lil friend all night
                       And all this morning
                       I’m so sorry, I told u you are trouble for me”
       ...




                                                 9
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 10 of 34 PageID #: 10




                         “How’s my friend today
                         [Weary Face emoji] what’s wrong”

        Jane Doe:        “Why did u do what u did to me
        ...
                         I told u I wanted to stop and u kept goin”

        27.       In connection with the incident, Jane Doe sought counseling from an on-campus

 counselor on December 12, 2019, the morning after Doe’s last final exam. After speaking to a

 counselor, Jane Doe filed an anonymous report online with the University through Crime Stoppers

 that same day.

        28.       As a result of the assault—as well as having to see McCarty afterward, suffering

 from nightmares, and participating in the months-long investigation—Jane Doe’s ability to

 perform academically suffered for the first time in her college career. The assault happened in the

 middle of final exams, and her difficulties studying and concentrating during the remaining exams

 diminished her performance at the end of the fall semester. Immediately following the incident,

 Jane Doe had difficulty giving full effort to her remaining final; her mind “wasn’t fully there or

 motivated” towards her academics and, she struggled navigating her student athletic training

 assignment as she tried to fulfil her duties and avoid seeing McCarty. In carrying out her role as

 an athletic trainer, Jane Doe had to see McCarty for weeks at basketball games and practices, even

 though the basketball gym was “the last place [she] wanted to be.” McCarty remained on campus

 as Jane Doe’s superior until December 26, 2019.

        29.       In the spring semester, even after McCarty was fired, the investigation continued,

 and Jane Doe struggled to stay focused, moved slower in digesting reading materials, and had

 trouble understanding her own notes. Due to difficulty dealing with her academics and the

 demands of the reporting and investigation process, Jane Doe fell behind in her classes. Between




                                                  10
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 11 of 34 PageID #: 11




 January and February 2020, she requested numerous academic allowances because she was having

 a hard academically and struggled to focus and complete assignments.

        30.     Jane Doe also reported having nightmares. Her roommates, friends, and supervisor

 at the University all confirmed that Doe was not herself for some time after the incident.

        31.     The impact of the assault has resonated beyond Jane Doe’s academic and social

 life, however, as she has been diagnosed with post-traumatic stress disorder (“PTSD”).

 C.     The University actually knew of Walter McCarty’s insidious pattern of sexually
        harassing and assaulting female students and employees—but did nothing to stop
        it.

        32.     Despite having had notice of a well-documented pattern of sexual misconduct, the

 University did nothing meaningful to protect employees and students of the University from

 McCarty’s predatory behavior before Jane Doe was sexually harassed and sexually assaulted.

 Apart from warning McCarty on only three occasions that University policies prohibited such

 sexually improper conduct, there is no record the University followed up, monitored, or supervised

 McCarty afterward to ensure McCarty was heeding those warnings. This case arises from

 McCarty’s sexual harassment and assault—sex-based discrimination—of Jane Doe, following the

 University’s deliberately indifferent response to multiple events of McCarty’s sexual harassment

 of other women.

        33.     The University’s failure to promptly and appropriately investigate and respond to

 McCarty’s prior sexual harassment allowed a condition to be created that substantially increased

 the chances that Jane Doe and others would be sexually harassed and assaulted. Moreover, the

 University’s failure to promptly and appropriately investigate and respond to these harassment and

 assault furthered sexual harassment and a hostile environment, effectively denying Jane Doe, and




                                                 11
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 12 of 34 PageID #: 12




 other female students, access to educational opportunities. Plaintiff brings this action to redress a

 hostile educational environment pursuant to Title IX.

        34.     During Walter McCarty’s brief tenure as head coach from March 1, 2018, until his

 termination on January 21, 2020, a timeline of numerous incidents shows a pattern of misconduct

 with women on and off the university campus, leading to the assault and harassment of Jane Doe.

 The University knew within about three months after hiring McCarty that his behavior towards

 women tended to be sexually inappropriate—behavior that the University knew escalated

 continually throughout his employment. But the University took virtually no meaningful action

 regarding any of the following incidents:

               As of June 6, 2018, the University knew McCarty had acted inappropriately with a

 woman at a local restaurant.

        Report: Director of Athletics Mark Spencer received the information from a University

 Board member. On June 6, 2018, Spencer met with McCarty and explained the University’s

 behavioral expectations of its employees.

        Action: Beyond the ten-minute meeting, a verbal warning was the only action taken.

               The University learned in July 2018 that McCarty had been sending persistent and

 unwanted text messages and private Instagram messages to a University employee, inviting her to

 bars, restaurants, and his home.

        Report: A University alumnus told the school’s administration about McCarty’s

 interactions with the employee, who worked in the Athletic Department and reported to then Title

 IX Director Dr. Tracy Folden and said his conduct toward the employee even made the alumnus

 uncomfortable.




                                                  12
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 13 of 34 PageID #: 13




        Action: University President Christopher Pietruszkiewicz reviewed facts of the case and

 determined that the incident did not support a policy violation. On September 27, 2018, Dr. Folden

 sent McCarty a letter that simply summarized the investigation and the University sexual

 harassment policy and advised him not to communicate with the employee in any way and to use

 caution when engaging with employees.

               Again in September 2018, the University learned that McCarty sent a female

 University student text messages that were unwelcome and harassing.

        Report: The student, accompanied by her mother, reported McCarty’s conduct to Dean of

 Students Dana Clayton and asked that the messaging stop.

        Action: Although Dr. Folden and Mr. Gehlhausen determined the messages did not violate

 University policy, they notified McCarty not to have any other further communication with the

 student and again advised him to be more cautious in his interactions with the campus community.

               The University was informed multiple times from Fall 2018 through Summer

 2019 that McCarty routinely sent a female employee in the athletic department inappropriate

 private Instagram messages inviting her to have dinner and attend events with him—and even

 asking to see a photo of her wearing a swimsuit.

        Reports: Throughout this period, the athletic department employee told her superior and

 another University employee about McCarty’s conduct and her discomfort with the messages from

 McCarty.

        Action: No apparent action was taken by the University based on McCarty’s behavior

 toward the female athletic department employee.

               Yet again in June 2019, the University learned that McCarty sent a former student

 private Instagram messages that made her uncomfortable.




                                                13
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 14 of 34 PageID #: 14




            Report: The woman reported McCarty’s conduct to University Vice President of Student

 Affairs and Dean of Students Dana Clayton. The student met with Mr. Gehlhausen and said she

 had spoken to several other students who had similar encounters with McCarty. The student said

 her reason for coming forward was so that the University would be aware of the incident if other

 students came forward.

            Action: The Office of Institutional Equity simply created a case file of the complaint and

 no further action appears to have been taken to address the behaviors with McCarty.

                  The month before the assault on Jane Doe, the University was told on November

 5, 2019 that McCarty had for weeks been giving uncomfortable attention to a female student who

 worked in the University Center Café court, initiating unwanted physical contact in a lingering

 way that was unwanted by the student.

            Report: The student reported McCarty’s conduct to Title IX Coordinator Annie Sills and

 told Mrs. Sills she also knew of five or six other female students who had similar experiences with

 McCarty.

            Action: Mrs. Sills contacted the other student named by the reporting student, but did not

 receive a response from the other student. The University again created a case file, but took no

 further action.

                  Then on December 11, 2019, two high-ranking University employees raised

 concerns about McCarty’s alleged behavior with others in the University community—two days

 after McCarty’s sexual assault of Jane Doe but one day before she anonymously reported the

 assault.

            Action: Annie Sills contacted both employees and they said others had reported to them

 that McCarty engaged in inappropriate conduct, pointing to McCarty’s behavior toward young




                                                   14
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 15 of 34 PageID #: 15




 women at a local bar and to his relentless pursuit of a female student at the University. No further

 action was taken.

        35.     In short, nearly every month after the first documented instance of McCarty’s

 sexual harassment, he harassed or assaulted another woman in violation of school policy and

 federal law. And, despite University officials’ initial determinations that McCarty did not violate

 school policy by messaging and engaging with these women in a way that was uncomfortable to

 them and unwanted, his conduct appears to violate the Equal Employment, Discrimination,

 Harassment, and Related Laws and Regulations provision of the Employee Code of Conduct,

 which states: “Harassment of any kind is unacceptable at the University of Evansville and is in

 conflict with the policies and interests of the institution.” Even if it is not sexual in nature, the

 Code of Conduct prohibits non-sexual harassment, namely “nonverbal or physical conduct which

 has the intent or effect of unreasonably interfering with the individual’s or group’s educational

 and/or work performance, or creating an intimidating, hostile, or offensive educational and work

 environment on or off campus.” McCarty’s continual unwelcome communications and attention

 paid to women in the Evansville community—and his extramarital sexual contact with them—

 further violates the Code of Conduct’s Commitment to Integrity and Ethical Conduct, as even

 Spencer suggested.

        36.     Indeed, the Title IX investigation into Doe’s complaint concluded that McCarty’s

 “pattern and practice of communicating through social media and/or in person in a manner that

 made other females feel ‘uncomfortable’” supported violations of the University’s Sexual

 Harassment and Misconduct Policy. Plainly apparent from these facts is that the University had

 actual notice of a persistent pattern of sexual harassment and assault perpetrated by Walter

 McCarty.




                                                  15
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 16 of 34 PageID #: 16




        37.     But rather than take any meaningful action to protect women—including students

 and employees of the University and those in the Evansville community—from McCarty’s

 predatory behavior, the University chose to proceed with deliberate indifference to the near

 certainty McCarty’s unlawful behavior would continue.

        D.      More victims of McCarty’s predatory behavior come forward after Jane Doe
                told the University about being harassed and assaulted by McCarty.

        38.     As a result of Jane Doe’s decision to pursue her complaint against McCarty, at least

 two additional women came forward to report his sexually inappropriate behavior with them on

 numerous occasions while they were students at the University:

               In June or July 2018, a female student working in the Athletic Department when,

 after learning that the female student and her boyfriend (a fellow student athlete) had broken up,

 McCarty began messaging her on Instagram. That summer, they had intercourse which, though

 consensual, the female student says happened because “it was really easy to fall into a trap of . . .

 someone who is super powerful, or [had] a title on campus” at a time when she was “young and

 immature.”

               In August 2018, after the female student spent the night drinking at a fraternity

 party and then on campus, McCarty “completely random[ly]” sent her a message and picked her

 up from campus. McCarty took her back to his house, where the female student says that “before

 anything happened I did tell him this is not right” and, though she did not tell him “No,” she “said

 this does not feel right.” Nevertheless, “then we had vaginal intercourse.”

               And in January and April–May 2019, a female student athlete met McCarty when

 he saw her in the University gym facility and told her she had good form. In April 2019, McCarty

 saw the female student athlete running on campus, stopped his car in the middle of the road, and

 told her he could tell she liked to work out before asking to follow her on Instagram. After allowing




                                                  16
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 17 of 34 PageID #: 17




 him to follow her, in May 2019, McCarty “liked” a photo of the female student athlete in spandex

 and messaged her privately that evening.

        E.       The aftermath and external investigation into Jane Doe’s sexual assault.

        39.      On or about December 12, 2019, Jane Doe anonymously submitted a report to the

 University’s Title IX Office notifying the office of an assault by McCarty. On or about December

 19, 2019 the University was able to confirm through interviews of individuals in the athletic

 department that the complainant was Jane Doe. Then on December 20, 2019, Jane Doe met with

 Annie Sills, Institutional Equity and Title IX Coordinator and reported the sexual assault to the

 University.

        40.      Athletic Director Mark Spencer met with McCarty on December 26, 2019 to tell

 him he had the choice to resign or be placed on administrative leave. McCarty thought neither

 course of action was necessary, as it was “only one incident.” While Spencer agreed neither option

 was a good one, he said had to act because, despite McCarty’s claim, “there was a timeline of

 multiple incidents showing a pattern leading to” Jane Doe’s allegation. Furthermore, Spencer told

 McCarty that even the sexual communications and contact he admitted having with Jane Doe

 would warrant termination. Given McCarty’s extensive pattern of sexual harassment, the

 University should have implemented measures to protect the numerous women McCarty harassed

 or assaulted.

        41.      Even while admitting that significant information evidencing this pattern had been

 presented to the University—and that McCarty had been warned or cautioned about his improper

 behavior numerous times—Spencer was apologetic to McCarty that they could not just put aside

 Jane Doe’s allegations to let McCarty resign under the guise of wanting to spend time with his

 family, rather than admit to any wrongdoing. Spencer even commiserated with McCarty and said




                                                 17
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 18 of 34 PageID #: 18




 that he wished McCarty did not have to resign or be terminated, stating that “this is the age of

 MeToo” and that the University was “hypersensitive to these types of offenses and just cannot let

 him off with a warning, especially since he does have a history of previous complaints,” and

 especially given the recent firing of theater professor R. Scott Lank for sexual misconduct.

        42.     Despite being confronted with a clear pattern of misconduct, McCarty never

 acknowledged the severity of his behavior or the likelihood he would experience any

 consequences. For instance, Spencer said that when asked what McCarty said in response to

 allegations raised the June 6, 2018 meeting, McCarty “was very dismissive that this was going to

 lead to anything.”

        43.     On December 30, 2019, Jane Doe was then formally interviewed by the University.

 This interview was a very painful interview lasting around 5 hours where Jane Doe shared copies

 of messages sent to her by McCarty with the University. On December 26, 2019, the University

 hired external investigators of the Philadelphia based office of the law firm of Cozen O’Connor.

 Over a two-month period from December 30, 2019 to February 21, 2020, the external investigators

 interviewed Jane Doe numerous times as part of the independent investigation into the assault and

 harassment.

        44.     During the investigation, the University ordered McCarty on at least four occasions

 not to delete or destroy any communications, logs, documents, or photos. But McCarty ignored

 these orders, deleting at least 509 emails from his University account from December 13, 2019

 through January 17, 2019. Likewise, when McCarty returned his University-issued laptop after

 being terminated, the laptop had been “wiped clean.” The investigation concluded that “[t]he

 volume of 509 deleted emails over a total number of 32 separate days suggests that [McCarty]’s

 acts of deleting and purging (permanently destroying) communications were intentional,” in




                                                 18
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 19 of 34 PageID #: 19




 violation of orders not to delete or destroy evidence and not to interfere with the integrity of the

 investigation.

        45.       The investigation began in December 2019 and was finally concluded on November

 13, 2020—over 11 months after the initial report by Jane Doe. The following is a timeline of the

 events in the aftermath of Walter McCarty’s assault on Jane Doe:

                 December 12, 2019. Jane Doe has to attend practice and see McCarty face to face

 for the first time since he assaulted her. Ms. Doe makes an appointment with University counselor.

 Ms. Doe then submits her initial report online and blocks McCarty on all social media.

                 December 13, 2019. The University sends a Title IX directive letter to McCarty

 prohibiting him from communicating with any potential witness or anyone he “interacted with that

 may be viewed as a policy violation that may be viewed as retaliation.”

                 December 17, 2019. Annie Sills contacts Jane Doe via email and text regarding the

 Title IX report. Jane Doe has to attend practice and treatments with basketball team.

                 December 21, 2019. Jane Doe attends men’s basketball game between the

 University of Evansville and Murray State at Ford Center.

                 December 23, 2019. The University sends a Title IX directive letter to McCarty “to

 have no contact with [Jane Doe] in any way, including in person, through non-verbal

 communication such as hand gestures or eye contact/staring, through hand-written or typed notes,

 by telephone, email, text message or other electronic means of communication, or through a third-

 party such as a mutual friend, acquaintance, or using another person’s phone or electronic device.”

                 December 26, 2019. Formal notice of investigation is delivered to McCarty.

 McCarty is placed on administrative leave. The same day, the University issues another Title IX

 directive reminding him that the December 23, 2019 Directive Letter remained in effect.




                                                  19
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 20 of 34 PageID #: 20




               December 27, 2019. The University releases a statement that they are placing

 McCarty on leave for Title IX violations and admits receiving numerous reports of McCarty’s

 Title IX violations and misconduct. McCarty calls Spencer later that evening.                   Spencer

 apologetically explains to McCarty that because of McCarty’s pattern of misconduct and because

 of the current climate of the “#MeToo” era that they cannot just put the allegations aside and let

 him resign.

               January 9, 2020. The University issues a directive to McCarty to have no contact

 with any employee of the University except Spencer.

               January 15, 2020. Head coach of another University sports team reports that

 McCarty contacted him on January 14, 2020 and requested an in-person meeting at the parking lot

 of a local restaurant. During the meeting, McCarty reportedly told the coach to tell a member of

 the team, a friend of Jane Doe’s at the time, and a named witness in the investigation—that if she

 and Jane Doe failed to tell the investigators the truth, they would end up in jail for lying.

               January 21, 2020. The University releases a public statement that Walter McCarty

 has been fired as the head men’s basketball coach.

               February 14, 2020. Michael Smith, the University’s Chief Information Officer

 examines McCarty’s computer and identifies data had been deleted from McCarty’s laptop and

 University-owned email wm97@evansville.edu. Smith determined that the emails were deleted

 and purged from McCarty’s inbox on or after December 13, 2019.

               March 7, 2020 through August 31, 2020. Despite concerns triggered by the global

 COVID pandemic, the University continually refuses Doe’s and Ms. Tuegel’s numerous attempts

 to review the Preliminary Investigation Report remotely, insisting that Doe or Ms. Tuegel could

 only view it in-person, thereby delaying the review and investigation process for over five months.




                                                  20
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 21 of 34 PageID #: 21




               March 17, 2020. McCarty sends Jane Doe’s mother a follow request and direct

 message on Instagram, including a “dark” photo that states “Lying won’t erase the truth it can only

 delay its discovery!” with the word “Lying” in red. Jane Doe’s mother took the message as a threat.

 Jane Doe’s mother notifies Ms. Tuegel and they notify the University.

               July 2, 2020. The University appoints an external adjudicator to issue a final

 decision in the Title IX investigation on behalf of the University.

               November 14, 2020. The external adjudicator finally releases its final adjudication.

        F.      The University investigation concludes that the evidence shows McCarty

 sexually harassed and sexually assaulted Jane Doe and that after she reported the violations

 to the Title IX office, McCarty retaliated against her.

        46.     Finding that, together with the parties’ actions after the incident, the “documentary

 evidence supports [Jane Doe]’s version of events”—and belies McCarty’s version—the

 investigation determined that “it is more likely than not that the incident occurred as [Jane Doe]

 alleged.” Accordingly, the Final Adjudication concluded that:

        a.      First, McCarty had non-consensual sexual contact and sexual intercourse with Jane

 Doe that constituted sexual assault. Although McCarty says he believes the sexual contact and

 intercourse were consensual, University’s Sexual Harassment and Misconduct Policy (the

 “Policy”) on Title IX issues states the following regarding “consent”:

        Consent requires a voluntary, informed and freely-given agreement, communicated

 though mutually-understandable words and/or actions, to engage in agreed-upon Sexual Contact,

 Sexual Intercourse, Sexual Exploitation, or other sexual activity. . . .




                                                   21
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 22 of 34 PageID #: 22




        In evaluating whether Consent has been freely sought and given, the University will

 consider the presence of any force, threat of force, or coercion; whether the Complainant had the

 capacity to give consent; and whether the communication (through words and/or actions) between

 the parties would be interpreted by a reasonable person (under similar circumstances and with

 similar identities) as a willingness to engage in a particular sexual act.

        Important considerations regarding Consent include:

                Consent to one form of sexual activity does not imply or constitute consent to

 another form of sexual activity.

                Consent on a prior occasion does not constitute consent on a subsequent occasion.

                Consent to an act with one person does not constitute consent to an act with any

 other person.

                The existence of a prior or current relationship does not, in itself, constitute consent’

 even in the context of a relationship, there must be real time and mutual consent to sexual activity.

                Consent can be withdrawn or modified at any time, and sexual contact must cease

 immediately once Consent is withdrawn.

                Consent cannot be inferred from the absence of a “no.”

                Consent cannot be inferred from silence, passivity, or lack of verbal or physical

 resistance, and relying on nonverbal communication alone may result in a violation of this Policy.

        Based on an assessment of the totality of the circumstances, the investigation concluded

 that “[t]he sexual intercourse and sexual contact—which are the sexual activities [McCarty]

 admitted he engaged in—was all without [Jane Doe’s] consent and, therefore, prohibited conduct

 under the Policy.” Despite McCarty’s denials, the report found “there is more than a preponderance

 of evidence, just based on [Jane Doe]’s statements, her post-incident actions, the documentary




                                                    22
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 23 of 34 PageID #: 23




 evidence she provided and the corroborating statements from several witnesses, to determine that

 it is more likely than not that the incident occurred as [Jane Doe] alleged”;

        b.      McCarty’s sexual advances toward and communications with Jane Doe were sexual

 harassment. The Policy also defines sexual harassment as “any unwelcome sexual advance.” The

 investigation found that Jane Doe’s documentary evidence and responses were credible and,

 “individually and collectively, support a finding that [McCarty’s] sexual advances were

 unwelcome.” Ultimately, the investigation found that McCarty also “engaged in Sexual

 Harassment when he continued to send [Jane Doe] unwelcome sexual advances between

 December 10–12, 2019,” when McCarty continued messaging Jane Doe “trying to get her to

 reengage with him” until she blocked him; and

        c.      McCarty committed retaliation against Jane Doe after she reported the assault.

 Under the Policy, “retaliation” occurs when a person says or does something against an individual

 or group that reports or complains of a Policy violation. Such retaliatory acts may include “adverse

 action” or “threats and intimidation that would discourage a reasonable person (under similar

 circumstances and with similar identities to the targeted individual or group) from” reporting the

 Policy violation. The investigation determined that “there is ample credible evidence, under the

 preponderance standard, that [McCarty] engaged in two acts of Retaliation: on January 14, 2020,

 when he contacted Coach Mundell in a targeted attempt to get a message to [Jane Doe] and her

 friend; and, on March 17, 2020, when he contacted [Jane Doe]’s mother in, again, a targeted

 attempt to get a message to [Jane Doe] through her mother, both attempts designed to harass,

 threaten and intimidate a party and/or witnesses.”

        G.      The investigation concludes that that McCarty’s assault on Jane Doe violated

 the University’s policies and breached McCarty’s employment agreements.




                                                  23
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 24 of 34 PageID #: 24




        47.     The Final Adjudication concluded that McCarty’s conduct toward Jane Doe

 violated numerous University policies and breached McCarty’s employment agreements.

        48.     Specifically, the Final Adjudication determined McCarty violated the University’s:

        a.      Sexual Harassment & Misconduct Policy, both by sexually assaulting Jane Doe

 through sexual contact and sexual intercourse without her consent and by sexually harassing her

 through unwelcome sexual advances and communications (but not the Consensual Sexual

 Relationships Policy, which the Final Adjudication found did not apply since the sexual contact

 and relationship between McCarty and Doe were not consensual);

        b.      Employee Code of Conduct, by failing to comply with provisions on: (1)

 commitment to integrity and ethical conduct, (2) compliance with laws and University policies,

 and (3) harassment and related laws and regulations; and

        c.      Administrative Manual by participating in “discrimination in the form of sexual

 harassment” and unacceptable employee behavior, including “immoral or indecent conduct,”

 “obscene, abusive, or harassing language or behavior,” harassment (including sexual) directed

 toward a student, “failure to cooperate in investigations of . . . harassment,” and acts contrary to

 the reputation or best interests of the University, including those occurring outside the workplace.

        49.     Likewise, the Final Adjudication found McCarty materially breached his

 Administrative Employment Contract and Employment Agreement with the University “by

 violating the University’s Sexual Harassment and Misconduct Policy, and specifically, by

 engaging in Sexual Assault, Sexual Harassment, Retaliation and Violation of University

 Directives.”




                                                 24
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 25 of 34 PageID #: 25




        50.     The University’s failure to enforce—and follow—its own policies shows its

 indifference to the ongoing threat McCarty posed the women of the Evansville community. The

 result of these failures was that McCarty went on to harass and assault numerous women who

 attended or worked for the University on a persistent basis.

                                           IV.
                                      CAUSES OF ACTION

                                           COUNT 1
               DISCRIMINATION UNDER TITLE IX: SEXUALLY HOSTILE CULTURE
                                 AND DELIBERATE INDIFFERENCE
      (Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a))


        51.     Plaintiff realleges and incorporates by reference all facts and allegations set forth

 in the preceding paragraphs.

        52.     McCarty’s verbal and physical sexual advances toward—and sexual assault of—

 Jane Doe were not welcome and constitute sexual harassment under Title IX.

        53.     Jane Doe and other complainants who reported McCarty’s sexual misconduct told

 an “appropriate person” about their harassment and assaults. It is undisputed that numerous women

 informed University officials of McCarty’s sexual misconduct toward the women before Jane Doe

 informed the University officials, including without limitation Title IX Coordinator Annie Sills,

 about McCarty’s sexual assault of Jane Doe. Sills—along with others who certainly were aware

 of what the other complainants reported McCarty did to them and of the sexual harassment and

 assault Jane Doe reported to her—had authority to take corrective action to end the discrimination.

        54.     University officials—including those in the Title IX Office, the Office of

 Institutional Equity, and the Athletic Department where McCarty worked—actually knew of

 McCarty’s demonstrated penchant for sexual misconduct and the risk he posed to female students

 and employees of the University before he harassed and assaulted Jane Doe.




                                                 25
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 26 of 34 PageID #: 26




        55.     The University was on notice and aware of at least seven other female students and

 employees of the University, and of other women in the community, who were sexually harassed

 by McCarty.

        56.     After issuing warnings to McCarty about the first few incidents, the University

 deliberately chose not to take any further action regarding McCarty’s continual sexual harassment

 of women, to investigate the additional incidents, or to protect the women on campus from

 McCarty’s sexual harassment and assault. Such failures were clearly unreasonable.

        57.     The University’s deliberate indifference is evident from both the University’s

 failure to take any meaningful action to address Walter McCarty’s sexual misconduct toward

 women at the University and from its failure to enforce its own policies that McCarty violated.

        58.     First, University officials admittedly had notice of McCarty’s pattern of sexual

 harassment and assault but made an affirmative decision to take no further action, while at the

 same time giving the illusion that they were reporting the sexual assault and responding in an

 appropriate manner. Given McCarty’s extensive pattern of harassment, the University’s limited

 investigations and warnings given to McCarty following prior incidents—without taking any

 action to implement any protective measures—amounted to deliberate indifference.

        59.     Second, McCarty’s conduct toward Jane Doe and the other women who reported

 his unwelcome sexual advances to the University violated the University’s:

        a.      Sexual Harassment & Misconduct Policy, both by sexually assaulting Jane Doe and

 others through sexual contact and sexual intercourse without her consent and by sexually harassing

 these women through unwelcome sexual advances and communications;




                                                26
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 27 of 34 PageID #: 27




         b.     Employee Code of Conduct, by failing to comply with provisions on: (1)

 commitment to integrity and ethical conduct, (2) compliance with laws and University policies,

 and (3) harassment and related laws and regulations; and

         c.     Administrative Manual by participating in “discrimination in the form of sexual

 harassment” and unacceptable employee behavior, including “immoral or indecent conduct,”

 “obscene, abusive, or harassing language or behavior,” harassment (including sexual) directed

 toward a student, “failure to cooperate in investigations of . . . harassment,” and acts contrary to

 the reputation or best interests of the University, including those occurring outside the workplace.

         60.    Furthermore, by sexually harassing and assaulting students and employees of the

 University and women in the Evansville community—violations of the University’s Sexual

 Harassment and Misconduct Policy and the Administrative Manual—McCarty materially

 breached his Administrative Employment Contract and Employment Agreement with the

 University.

         61.    The University’s failure to enforce and follow its own policies is further evidence

 of its indifference. The result of these failures was that McCarty went on to harass and assault

 numerous women who attended or worked for the University on a persistent basis.

         62.    The University’s deliberate indifference to McCarty’s ongoing sexual harassment

 exposed Plaintiff to continued sexual harassment—and sexual assault—which was so severe,

 pervasive, and objectively offensive that it effectively barred her access to meaningful educational

 opportunities and benefits including academics, athletic programs, and on-campus events and

 activities.




                                                 27
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 28 of 34 PageID #: 28




         63.     As a direct and proximate result of the University’s deliberate indifference to its

 sexually hostile educational environment, Plaintiff suffered damages and injuries for which the

 University is liable.

                                           COUNT 2
                      RETALIATION AS DISCRIMINATION UNDER TITLE IX
      (Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a))

         64.     Plaintiff realleges and incorporates by reference all facts and allegations set forth

 in the preceding paragraphs.

         65.     Jane Doe made a good faith complaint alleging sex discrimination.

         66.     McCarty retaliated against Jane Doe because she complained of sex discrimination.

 As the investigation here concluded, McCarty engaged in two acts of Retaliation: on January 14,

 2020, when he contacted Coach Mundell in a targeted attempt to tell Jane Doe that she would “go

 to jail for not telling the truth”; and, on March 17, 2020, when he contacted Jane Doe’s mother,

 saying: “Lying won’t erase the truth, it can only delay its discovery.” The investigation found

 “both attempts [were] designed to harass, threaten and intimidate a party and/or witnesses.”

 Consistent with the Supreme Court’s guidance, McCarty’s retaliations are also Title IX violations.

         67.     McCarty’s retaliation against Jane Doe constitutes intentional discrimination on the

 basis of sex, in violation of Title IX.

         68.     The retaliation against Jane Doe continued her exposure to sexual harassment that

 was so severe, pervasive, and objectively offensive that it effectively barred her access to

 meaningful educational opportunities and benefits including academics, athletic programs, and on-

 campus events and activities.




                                                  28
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 29 of 34 PageID #: 29




         69.     As a direct and proximate result of the University’s deliberate indifference to its

 sexually hostile educational environment, Plaintiff suffered damages and injuries for which the

 University is liable.

                                      COUNT 3
                NEGLIGENCE & GROSS NEGLIGENCE UNDER INDIANA STATE LAW

         70.     Plaintiff realleges and incorporates by reference all facts and allegations set forth

 in the preceding paragraphs.

         71.     The University owed a duty of reasonable care and supervision to its student Jane

 Doe.

         72.     Jane Doe was not only a student but was also working as a subordinate to McCarty

 when he sexually harassed and assaulted her. Even after the assault, McCarty continued sending

 Jane Doe inappropriate messages in which he made comments about her body. McCarty also made

 comments about Jane Doe’s body publicly in front of fellow students and colleagues in the Athletic

 Department. In carrying out her role as an athletic trainer, Jane Doe then had to see McCarty for

 weeks at basketball games and practices, even though the basketball gym was “the last place [she]

 wanted to be.” McCarty remained on campus as Jane Doe’s superior until December 26, 2019.

         73.     For over a year and half before the incidents involving Jane Doe, people had

 expressed concerns to University officials about McCarty’s sexual harassment or assault of at least

 seven women in the Evansville community, including students and employees of the University.

 Likewise, the University had policies authorizing it to investigate McCarty’s inappropriate sexual

 contact with the women he victimized and harassed. Indeed, Athletic Director Mark Spencer

 confirmed that even if there had not been such a well-documented pattern of sexual misconduct

 and impropriety as there was in this case, even one instance of sexual harassment or assault of a

 student would have warranted terminating McCarty. Instead, there were seven from June 2018




                                                  29
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 30 of 34 PageID #: 30




 through December 11, 2019. Yet McCarty was permitted to work with students until after Jane

 Doe filed a complaint against him and the University initiated an official Title IX investigation.

        74.     In light of its substantial notice of McCarty’s misconduct, the University should

 have reasonably foreseen and anticipated McCarty’s harassment and assault of Jane Doe.

        75.     But rather than terminate, supervise, or otherwise monitor McCarty for his

 predatory behavior toward women, the University allowed McCarty to continue and placed him in

 the Evansville community, bolstering his positive reputation to the benefit of the University.

        76.     The University, thus, breached its well-established duty to Doe when it failed to

 investigate numerous complaints it had received about Walter McCarty’s sexual misconduct.

        McCarty committed a civil assault on Jane Doe when he made intentional sexual advances

 on her, placing Doe in apprehension of imminent harmful or offensive contact. McCarty’s conduct

 went beyond creating apprehension when he made offensive sexual contact with Jane Doe. The

 offensive contact perpetrated on Jane Doe—made without her consent—included sexual contact

 and sexual intercourse. Such offensive sexual contact is a civil battery under Indiana state law.

        77.     The University also breached its duty to Doe when it failed to take any action

 against McCarty other than advisory action when University officials learned that multiple women

 who were students and employees of the University made allegations of sexual misconduct against

 McCarty.

        78.     The University also breached its duty to Doe when it failed to implement its own

 policies and procedures that McCarty violated and that allowed the University to take corrective

 measures, including terminating McCarty, which would have prevented the sexual assault he

 perpetrated against Jane Doe.




                                                 30
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 31 of 34 PageID #: 31




            79.   The University could have taken action against McCarty, but instead it did nothing

 to stop McCarty from sexually harassing, and ultimately assaulting, young female students and

 employees of the University and other women in the Evansville community.

            80.   The University acted willfully and wantonly violated its duties to Jane Doe and

 thereby engaged in grossly negligent behavior. It was well known to them that sexual abuse was

 likely to occur and that Jane Doe would be sexually abused and assaulted.

            81.   Because of the University’s multiple breaches of duty, Jane Doe was sexually

 harassed and assaulted by the University’s employee Walter McCarty. By the time Doe reported

 her assault to the University on December 12, 2019, two high-ranking University officials had

 raised additional concerns on December 11, 2019 about McCarty’s misconduct toward other

 women in the Evansville community and his harassment of a female student at the University. The

 University’s negligence and gross negligence directly caused Jane Doe’s sexual harassment and

 assault.

            82.   The University’s wholesale failure to take any real action to prevent McCarty from

 victimizing female students and employees of the University after either the first, second, third,

 fourth, fifth, sixth, or seventh sexual incident raises the inference that McCarty’s acts were

 authorized by the University.

            83.   Furthermore, McCarty’s sexual assault of Jane Doe happened while McCarty was

 acting in his role as Jane Doe’s superior on the men’s basketball team.

            84.   As a direct and proximate result McCarty’s assault and battery and of the

 University’s actions and inaction, Plaintiff suffered damages and injuries for which the University

 is directly liable.




                                                  31
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 32 of 34 PageID #: 32




           85.    As a direct and proximate result of the University’s negligent infliction of

 emotional distress, Plaintiff suffered damages and injuries for which the University is directly

 liable.

           86.    As a direct and proximate result of McCarty’s battery, Plaintiff suffered damages

 and injuries for which the University is vicariously liable.

                                             V.
                                         ATTORNEYS FEES

           87.    As a result of this action, Plaintiff has retained Michelle Simpson Tuegel and Jeff

 Gibson to represent her in her claims against Evansville. Accordingly, Plaintiff seeks attorneys’

 fees incurred pursuant to Title IX.

                                              VI.
                                           JURY DEMAND


           88.    Plaintiff respectfully demands a jury trial in this matter.

                                              VII.
                                        RELIEF REQUESTED

           89.    For the foregoing reasons, Plaintiff respectfully requests that the Court enter

 judgment against Defendant consistent with the relief requested herein, and for any and all other

 relief to which Plaintiff may be justly entitled including actual damages, compensatory damages,

 court costs, attorneys’ fees, and pre- and post-judgment interest.

 Wherefore, Plaintiffs respectfully request that this Court will:

                  a.      Enter judgment against Defendant in such amounts as willfully and

           adequately compensate Plaintiff for the damages she has suffered in amount to be

           determined at trial,

                  b.      Award Plaintiff punitive damages against Defendant in an amount to be

           determined by a jury for Defendant’s violations of the law,



                                                    32
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 33 of 34 PageID #: 33




                 c.   Award Plaintiff pre-judgment and post-judgment interest;

                 d.   Award Plaintiff her actual expenses of litigation, including reasonable

       attorney’s fees.

                 e.   Award Plaintiff such other and further relief as this Court deems just and

       proper.

       DATED: April 12, 2021

                                            Respectfully submitted,

                                              By:/s/       Michelle Simpson Tuegel

                                              Michelle Simpson Tuegel
                                              THE SIMPSON TUEGEL LAW FIRM, PLLC
                                              Admitted
                                              3301 Elm St.
                                              Dallas, Texas 75226
                                              Tel: 214-774-9121
                                              Fax: 214-939-9229
                                              michelle@stfirm.com

                                              /s/ Jeff Gibson
                                              Jeff Gibson
                                              WAGNER REESE, LLP
                                              Admitted
                                              Bar No. 22362-49
                                              11939 N. Meridian Street,
                                              Suite 100 Carmel, IN 46032

                                            ATTORNEYS FOR PLAINTIFF




                                              33
Case 3:21-cv-00065-RLY-MPB Document 1 Filed 04/12/21 Page 34 of 34 PageID #: 34




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was served via the Court’s
 ECF electronic filing system on this 12th day of April 2021, and via email and U.S. Mail to
 Counsel for Defendants.

 Hayley E. Hanson
 4801 Main Street, Suite 1000
 Kansas City, MO 64112
 Direct: 816.983.8377
 Fax: 816.983.8080
 hayley.hanson@huschblackwell.com
 Attorney for Defendant, University of Evansville

                                               /s/Michelle Simpson Tuegel
                                               THE SIMPSON TUEGEL LAW FIRM, PLLC
                                               Admitted
                                               3301 Elm St.
                                               Dallas, Texas 75226
                                               Tel: 214-774-9121
                                               Fax: 214-939-9229
                                               michelle@stfirm.com

                                               /s/ Jeff Gibson
                                               Jeff Gibson
                                               WAGNER REESE, LLP
                                               Bar No. 22362-49
                                               11939 N. Meridian Street,
                                               Suite 100 Carmel, IN 46032

                                             ATTORNEYS FOR PLAINTIFF




                                               34
